               IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF PENNSYLVANIA

TYREE WILLIAMS,
                                                :
                    Plaintiff,                  :
                                                :      Civil Action
                    v.                          :
                                                :      No.2:20-CV-02219-AB
TEMPLE UNIVERSITY – OF THE                      :
COMMONWEALTH SYSTEM                             :
OF HIGHER EDUCATION, et al.                     :
                                                :
                    Defendants.                 :



                                          ORDER

       AND NOW, this             day of                               , 2021, upon

consideration of the Defendants’ Partial Motion for Summary Judgment, and the

response and reply thereto, and any argument ordered by the Court, it is hereby

ORDERED that the Motion is GRANTED, partial summary judgment is entered in

favor of Defendants, and Counts I, II, III, IV, V, VI, VII, VIII, and IX are DISMISSED

WITH PREJUDICE.



                                                BY THE COURT:


                                                The Hon. Anita Brody
                IN THE UNITED STATES DISTRICT COURT FOR THE
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                     v.                               :
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COMMONWEALTH SYSTEM                                   :
OF HIGHER EDUCATION, et al.                           :
                                                      :
                     Defendants.                      :



         DEFENDANTS’ PARTIAL MOTION FOR SUMMARY JUDGMENT

       Defendants, Temple University – Of the Commonwealth System of Higher

Education and Temple University Police Officers Sabir and Mitchell (collectively,

“Defendants” or “Temple”), by and through their attorneys, hereby move this Court,

pursuant to Rule 56 of the Federal Rules of Civil Procedure, to enter partial summary

judgment in their favor and against Plaintiff, Tyree Williams (“Plaintiff” or “Plaintiff”)

for the following reasons:

           •   Plaintiff’s adverse employment action was justified due to his failure to
               return to work from leave and his failure to provide a medical certification,
               ( Counts I-VIII and X);

           •   There is no temporal proximity between Plaintiff’s FMLA leave and his
               termination (Counts VIII – X);

           •   Plaintiff frustrated the interactive process with Temple by not
               considering alternative accommodations offered and not engaging with
               Temple, (Count VIII and X); and

           •   Plaintiff offers nothing more than conclusory allegations and his own
               subjective beliefs to support his claims, ( I, II, III, IV, V, VI, VII, VIII, IX, X
               and XIII);


                                                 2
       The specific bases for this Motion are more fully set forth in the accompanying

Memorandum of Law, Statement of Undisputed Material Facts, and Exhibits, which

are incorporated herein by reference.

       WHEREFORE, Defendants respectfully request that their Motion be granted,

summary judgment be entered in their favor, and Counts I, II, III, IV, V, VI, VII, VII, VIII,

and IX, be dismissed with prejudice.



                                                   Respectfully submitted,

                                                   TUCKER LAW GROUP, LLC

DATED: October 7, 2021                             /s/ Joe H. Tucker
                                                   Joe H. Tucker, Jr., Esquire
                                                   Brock J. Atkins, Esquire
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                                                   Attorneys for Defendants




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     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
        PARTIAL MOTION FOR SUMMARY JUDGMENT

I.   INTRODUCTION

     Plaintiff, Tyree Williams, alleges the kitchen sink of claims against the Temple

Defendants, ranging from illegal termination based on race to assault and battery. The

majority of his claims should be dismissed as a matter of law and because there is no

actual evidence to support his claims; his subjective beliefs are not enough to overcome

summary judgment. The very purpose of summary judgment is to pierce the pleadings

and put Plaintiff to his proofs. Plaintiff falls short in meeting this burden.

     Plaintiff was terminated from Temple University’s Office of Undergraduate

Admissions not because of his disability or his race, but because he never returned to

work after exhausting his FMLA leave and receiving five (5) extensions of his leave.

Plaintiff alleges that he was subjected to repeated incidents of racial animus and micro-

aggressions, however, beyond his own subjective beliefs, Plaintiff cannot identify any

evidence or material facts that suggest his race or disability provide a basis for his claims.



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Indeed, the video of the alleged altercation that forms the basis of Plaintiff’s excessive

force and assault and battery claims confirms that there was no force used at all.

     Plaintiff complains of a multitude of interactions he had with Temple while ignoring

the role his actions had in his termination and Temple’s actions. By way of example,

three (3) separate and independent organizations contacted his supervisors to complain

about his demeanor and professionalism, yet Plaintiff maintains that Temple’s attempts

to provide him communication coaching is evidence of racial animus.                       He views

everything with a lens that he was being victimized and tokenized by Temple, but willfully

ignores his own actions or the needs of his former employer.                   Ultimately, Temple

terminated Plaintiff for a legitimate and non-discriminatory reason To the extent that

Plaintiff is able to sustain a prima facie case for any of his assorted claims, he has failed

to adduce any evidence that remotely suggest Temple’s legitimate and non-discriminatory

reasons were pretextual. Moreover, to argue that Temple was motivated by racial animus

after Temple accommodated him in every way it could, including providing him extension

after extension on his medical leave, while holding his position open beyond what was

legally required, while his department was burdened by his extended departure, but still

participated in two full day mediations with him so that Plaintiff would feel comfortable

returning to work, is misguided and illogical.

     Plaintiff’s Complaint is littered with vague and unfounded allegations that all should

be dismissed with prejudice. Therefore, Plaintiff’s claims under the ADA, FMLA, PHRC,

Section 1981, and Title VII must be dismissed with prejudice 1.




1Temple is not moving for summary judgment on the defamation and privacy violation claim in Counts XI
and XII.

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II.    FACTS
        On May 10, 2020, Plaintiff filed this lawsuit initially asserting thirteen (13) causes

of action (doc. 1):

               Count I              Title VII – Terms and Conditions

               Count II             Title VII – Hostile Work Environment

               Count III            Title VII - Retaliation

               Count IV             Section 1981 – Racial Discrimination

               Count V              Section 1981 – Hostile Work Environment

               Count VI             Section 1981 – Retaliation

               Count VII            ADA – Disability Discrimination

               Count VIII           FMLA – Retaliation

               Count IX             Section 1983 – Excessive Force

               Count X              PHRA – Racial Discrimination, Retaliation,
                                    Disability Discrimination

               Count XI             Defamation

               Count XII            Privacy Violation

               Count XIII           Assault and Battery



       Defendants incorporate by reference the Statement of Undisputed Materials

Facts filed contemporaneously herewith.



III.   ARGUMENT

        A.      Standard for Summary Judgment

       Federal Rule of Civil Procedure 56 mandates the entry of summary judgment against


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a party who fails to offer admissible evidence sufficient to establish the existence of every

element essential to that party’s case for which that party bears the burden of proof.

Celotex Corp. v. Catrett, 477 U.S. 317, 322, 327 (1986) (stating that the “[s]ummary

judgment procedure is properly regarded not as a disfavored procedural shortcut, but rather

as an integral part of the Federal Rules as a whole, which are designed ‘to secure the just,

speedy and inexpensive determination of every action’”) (citation omitted). Although a

defendant bears the initial responsibility of asserting the basis for its motion, the defendant

is not required to negate the plaintiff’s claim. Rather, the defendant must only point out that

there is an absence of evidence to support the plaintiff’s case or, alternatively, offer

affirmative evidence which demonstrates that the plaintiff cannot prove his or her case.

Lawrence v. Nat’l Westminster Bank N.J., 98 F.3d 61, 69 (3d Cir. 1996). To survive a

summary judgment motion, therefore, the non-moving party must come forward with

specific admissible and credible evidence supporting each element essential to that party’s

case; mere conclusory allegations or denials are not enough. Schoch v. First Fidelity

Bancorporation, 912 F.2d 654, 657 (3d Cir. 1990); see also Matsushita Elec.Industrial

Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Indeed, to survive summary

judgment, “there must be enough evidence to enable a jury to reasonably find for the non-

moving party on the issue.” Petrucelli v. Bohringer & Ratzinger, 46 F.3d 1298, 1308 (3d

Cir. 1995).

     As detailed below, the undisputed facts dictate that Plaintiff’s disability and race

discrimination claims fail as a matter of law. Thus, Defendants’ motion should be granted,

and summary judgment should be entered in favor of Defendants on the majority of

Plaintiff’s claims.



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        A.     PLAINTIFF WAS TERMINATED FOR A LEGITIMATE AND NON-
               DISCRIMINATORY REASON.

               1.     Defendants Never Discriminated Against
                      Plaintiff._____________________________________________

       In order for a plaintiff to establish a prima facie case for discrimination, Plaintiff

must first show, by a preponderance of the evidence that: (1) he belonged to a protected

class; (2) he was qualified for the position; (3) he was subject to an adverse employment

action despite being qualified; and (4) circumstances that raise an inference of

discriminatory action. Id. at 802; Leblanc v. Hill Sch., No., 14-1674, 2015 U.S. Dist. LEXIS

2981 at *18-19 (E.D. Pa. Jan 12, 2015). If a plaintiff is able to establish a prima facie case

for discrimination, the burden shifts to Defendants to advance a legitimate,

nondiscriminatory, or non-retaliatory reason for its conduct. See McDonnell Douglas

Corp. v. Green, 411 U.S. 792, 802 (1973). If Temple meets this relatively light burden, the

burden of production returns to Plaintiff, who must show by a preponderance of the

evidence that Defendants' proffered reasons were pretextual. Id. at 804-05.

                     a.     Plaintiff’s Title VII and Section 1981 Claims Fail Because
                            Temple Had a Legitimate and Non-Discriminatory Reason
                            for Hs Termination

       In evaluating a plaintiff's claims pursuant to Sections 1981, courts have established

that the legal analysis requires the same assessment as a Title VII claim. Burlington v.

News Corp. 759 F. Supp. 2d 580, 590 (E.D. Pa. 2010). Thus, absent direct evidence of

discrimination, as in this case, Plaintiff’s discrimination claims are analyzed under the

burden shifting analysis of McDonnell Douglas.




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       Assuming arguendo that Plaintiff has satisfied the first three elements of a prima

facie showing for a discrimination claim 2, his claims still fail because he cannot establish

a causal connection exists between his purported complaints to the EOC, his supervisors,

or the mediators and Temple’s actions. In Fitzgerald v. Amtrak, the plaintiff could not

establish his underlying 1981 claim because he could not prove that any decision makers

considered race in connection with an adverse employment action. 2016 U.S. Dist.

LEXIS 91114 at * 14, 27. See also Estate of Oliva v. N.J., Dept. of Law &Pub. Safety,

Div. of State of Police, 604 F. 3d 788, 798 (3d Cir. 2010). The Fitzgerald court found that

the plaintiff provided nothing more that "his bald contention that `every selection made by

[the alleged decision maker] after August 2012 was retaliatory in view of [the alleged

decision maker's] admission that he was aware that Mr. Fitzgerald had complained about

discrimination."' Fitzgerald, 2016 U.S. Dist. LEXIS 91114 at *29. The court held that

"[p]laintiff provided] no evidence (beyond mere assertion in his brief that [the alleged

decision maker] was even aware that Plaintiff complained about discrimination prior to his

subsequent decisions in 2012 to not promote [p]laintiff" Id.

       If Plaintiff was able to make out a prima facie case, the burden switches to

Defendants to demonstrate a legitimate, non-discriminatory explanation for Plaintiff’s

termination. Defendants’ burden here is “relatively light” and the explanation “must simply

‘permit the conclusion that there was a nondiscriminatory reason for the unfavorable

employment decision.’” Albright v. Trs. of the Univ. of Penn., No. 19-00149, 2019 U.S.

Dist. LEXIS 180654 (E.D. Pa. Oct. 18, 2019), at *19- 20 (citing Fuentes v. Perskie, 32

F.3d 759, 763 (3d Cir. 1994). Once that burden has been satisfied, it is the plaintiff’s


2Given the number of complaints Temple received about Plaintiff and the need for communication
coaching and the PIP, it is arguable that Plaintiff was not qualified for his position.

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burden to prove that the stated basis was “merely pretextual.” Id. at *20 (citing McDonnel

Douglas, 411 U.S. at 804). Plaintiff’s burden here is “difficult” and requires him to prove

that “each” of Temple’s bases for termination “was either a post hoc fabrication or

otherwise did not actually motivate the employment action”. Fuentes, 32 F.3d at 764, 765;

see also Albright, 2019 U.S. Dist. LEXIS 180654, at *20-21.

       Here, Plaintiff cannot establish a prima facie case for discrimination because he

cannot satisfy the fourth prong and adequately raise an inference of discriminatory

conduct. Plaintiff alleges he was “intentionally subjected to different and worse terms and

conditions of his employment by defendant, based on his race, than his similarly situated

Caucasian peers.” (Comp. ¶ 160). Plaintiff offers no evidence to support this bald

assertion. Plaintiff has adduced no record evidence to support the contention that he was

subjected to worse conditions because of his race or that he was treated differently from

his Caucasian peers. Moreover, Plaintiff has not even adduced evidence that he was

sufficiently similarly situated with his Caucasian peers other than his own beliefs and

generalizations. It is axiomatic that subjective beliefs of discrimination are not enough to

overcome summary judgment. See Robinson v. National Medical Care, 897 F. Supp.

184, 187 (E.D. Pa. 1995). As such, Plaintiff fails to satisfy the prima facie case for

discrimination.

       Additionally, Temple had a legitimate and non-discriminatory reason for Plaintiff’s

termination. After Plaintiff had been on leave for almost seven months and received five

leave extension under Temple’s leave of absence policy and completing the requisite

medical certifications to do so each time, Plaintiff failed to return to work as required by

April 7th, extended to April 29th, and then finally extended to May 6th. (See Exhibits “B” ad



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“DD”). As such, Plaintiff cannot meet his subsequent burden because Defendants had

legitimate and nonretaliatory reasons for his termination. Whether or not Plaintiff

complained to the EOC and the mediators about his supervisors, he still needed to comply

with Temple’s return to work procedures.

                     b.     Plaintiff’s ADA Claim also Fails Because Temple Had a
                            Legitimate and Non-Discriminatory Reason for His
                            Termination.

       In addition, Plaintiff’s ADA discrimination claim is also analyzed under the same

McDonnell Douglas framework. See Isley v. Aker Phila. Shipyard, Inc., 275 F. Supp. 3d

620, 627 (E.D. Pa. 2017) (McHugh, J.) (citing Taylor v. Phoenixville Sch. Dist., 184 F.3d

296, 306 (3d Cir. 1999)). To make out a prima facie case of disability discrimination,

Plaintiff must show: (1) he is a disabled person within the meaning of the ADA; (2) he is

otherwise qualified to perform the essential functions of the job, with or without reasonable

accommodations by the employer; and, (3) he has suffered an otherwise adverse

employment decision as a result of discrimination. See Williams v. Phila. Hous. Auth.

Police Dep't., 380 F.3d 751, 759 3d Cir. 2004). Plaintiff’s ADA claim fails because Temple

had a legitimate, nondiscriminatory reason for Plaintiff’s termination, and Plaintiff will not

be able to show that the stated basis was pretextual.

       Plaintiff’s allegations that Temple “refused to engage in the interactive process with

plaintiff to come up with a reasonable accommodation” are patently false. (Comp. ¶ 186).

Pursuant to the ADA, to facilitate the reasonable accommodation requirement, employers

and employees are required to engage in an interactive process to identify the employee's

limitations resulting from a disability and the kinds of accommodation which would be both

appropriate and feasible. 29 C.F.R. § 1630.2(o)(3) (the “interactive process” refers to the



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process by which an employee who has requested an accommodation for a disability and

his or her employer identify the precise limitations resulting from the employee's disability

and the potential reasonable accommodations that could overcome those limitations);

Jacoby v. Bethlehem Suburban Motor Sales, 820 F. Supp. 2d 609, 622 (E.D. Pa. 2011)

(finding that plaintiff caused the breakdown of the interactive process by the failing to

communicate the need for an accommodation, and even if properly communicated,

plaintiff’s requested accommodation was unreasonable).

       Both parties are required to assist in the search for appropriate reasonable

accommodations and to act in good faith. Taylor v. Phoenixville Sch. Dist., 184 F.3d 296,

312 (3d Cir. 1999). An employer can show its good faith by, for example, asking the

employee what he specifically wants, showing some sign of having considered the

employee’s request, and offering and discussing some available alternatives when the

request is too burdensome. Id. at 317. As for an employee, he must provide clear notice

to the employer that he has a disability and is seeking an accommodation for that

disability. Id., at 313.   The process “must be interactive because each party holds

information the other does not have and cannot easily obtain.” Id. at 316, citing Mengine

v. Runyon, 114 F.3d 415, 420 (3d Cir. 1997) ("employers will not always know what kind

of work the worker with the disability can do, and conversely, the worker may not be aware

of the range of available employment opportunities”).

       Here, after Temple rejected and countered Plaintiff’s accommodation request to

work from home as he saw fit because the:

              “admissions counselors to our directors, all the way up to me personally
              [Vice Provost Shawn Abbott] are the front line ambassadors for Temple
              University. As a result, we need to be on campus ready, willing, able and
              eager to meet with the prospective students, families and counselors who

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              visit us daily. This cannot be done from home and we need to be available
              at all times we are not engaged in off-campus outreach and recruitment.
              We anticipate 50,000 visitors to Temple next year and our admission
              officers are the staff members Temple relies on heavily to give daily
              information sessions and provide one on one counseling to our visitors who
              want to learn more about the admission and financial aid process… Please
              know that I am not against working from home or flexible working hours.
              For certain positions within the Division of Enrollment Management, working
              from home and/or a more flexible working schedule is mutually beneficial
              as the nature of our work may benefit from solitude and/or involved limited
              or no face to face contact with either internal or external constituents. Our
              admission officers, however, are entirely front facing and mut engage daily,
              if not hourly with both internal and external constituents.”
(See Exhibit “AA”)

Plaintiff failed to continue to engage Temple in the interactive process. (See Exhibits “CC’

and “DD”). By May of 2019, Plaintiff’s ULOA had ended, he had already been out from

work since the beginning of October, had been afforded several extensions, and was fully

cognizant that he had to routinely provide medical certifications in order to either maintain

his leave or return to work. (See Exhibits “R”, “U”, “X’ and “BB”). For reasons unknown to

Temple, Plaintiff severed his relationship with his certifying medical provider, Gustavo

Klurfan. Between April 26, 2019 and May 6, 2019, Plaintiff essentially sat on his hands

and did nothing to continue engaging Temple or return to his job. Given his circumstances

and desire to return to work, a possible solution was simply to return to work and accept

Temple’s proposed accommodation of working from home one day a month. As he noted

in his Complaint, Plaintiff had already returned to work on April 24th until April 26th without

any agreed upon accommodations. (See Comp. ¶ 187).

       Temple required Plaintiff to provide the fitness to return to work documentation in

accordance it’s policy, and having failed to do so, and after Temple afforded him several

extensions and an alternative accommodation, Plaintiff was appropriately terminated

when he did not return to work. (See Exhibit “B”).

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       Accordingly, Plaintiff’ Title VII, Section 1981, and ADA claims for race

discrimination in Counts I, IV, and VII of the Complaint must be dismissed with prejudice.

       2.     Defendants Never Retaliated Against Plaintiff.___________________

       Plaintiff’ Title VII, Section 1981, and FMLA retaliation claims are all analyzed under

the McDonnell Douglas burden shifting framework. The Third Circuit has directed that

the legal standards for a retaliation claim under Section 1981 are generally the same as

those applicable to a Title VII retaliation claim. See, e.g., Khair v. Campbell Soup Co.,

893 F. Supp. 316, 335-36 (D.N.J. 1995) (noting that with respect to retaliation claims,

“The Civil Rights Act of 1991 extended § 1981 to the reaches of Title VII.”).      Similarly,

because “FMLA retaliation claims require proof of the employer’s retaliatory intent, courts

have assessed these claims through the lens of employment discrimination law.” Capps

v. Mondelez Global, LLC, 847 F.3d 144, 151 (3d. Cir. 2017) (“Capps II”); Lichtenstein,

691 F.3d at 302. FMLA retaliation claims, then, are assessed under the burden- shifting

framework established in McDonnell Douglas. See Capps II, 847 F.3d at 151.

       Under this framework, if the plaintiff succeeds in making a prima facie showing,

“the defendant must articulate a legitimate, non-discriminatory reason for the adverse

employment action.” Capps II, 847 F.3d at 152. If the defendant is able to do so, the

“burden then shifts back to the plaintiff to prove, by a preponderance of the evidence, that

the articulated reason was a mere pretext for discrimination.” Capps II, 847 F.3d at 152.

The plaintiff must proffer sufficient evidence to allow the factfinder “to infer that the

employer did not simply make a bad decision when it took action against an employee,

but that the employers took that action for unlawful reasons.” Davis v. Temple Univ. Hosp.,

Inc, 2015 U.S. Dist. LEXIS 154312 at *21. Ultimately, it is the plaintiff’s burden to prove



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“retaliatory intent.” Lichtenstein, 691 F.3d at 302. And this is a “difficult burden”. Fuentes

v. Perskie, 32 F.3d 759, 765 (3d Cir. 1994).

                            a.      Plaintiff’s Title VII and 1981 Retaliation Claims Fail
                                    Because Plaintiff Did Not Suffer an Adverse
                                    Employment Action.

       To establish a prima facie retaliation claim under Title VII or § 1981, Plaintiff must

show: “(1) that he engaged in a protected activity; (2) that he suffered an adverse

employment action; and (3) that there was a causal connection between the protected

activity and the adverse employment action.” Cardenas v. Massey, 269 F.3d 251, 263

(3d Cir. 2001). Here, Plaintiff alleges that Temple retaliated against him for complaining

of “racial discrimination in the form of informal complaints directly to his management, to

defendant’s EOC office, and to its human resources management…” (See Complaint, ¶

170). Plaintiff further alleges he was subjected to a “hostile work environment, by false

criticisms, intentionally denying his requests relating to improving diversity, false

characterization of his performance and character, false discipline in the form of a

directive to attend baseless communications training…” (Id., ¶ 171).

       Plaintiff fails to establish the second and third prong for a prima facie case of

retaliation under Title VII and 1981. Specifically, Plaintiff did not suffer an adverse

employment action and there was no causal link between the alleged adverse

employment actions and his protected activity. None of the examples Plaintiff referenced

in his Complaint amount to actual adverse employment.              He was never fined, or

suspended, or demoted, rather he points to minor events as examples of retaliation.

However, petty slights and trivial annoyances do not qualify as actionable retaliation. See

Burlington Northern Santa Fe Railway Co. v. White, 548 U.S. 53, 69, [(2006). To the



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extent that Plaintiff alleges his termination was in retaliation for a protected activity he

engaged in, Temple has articulated a legitimate, nondiscriminatory reason for that action,

as set forth in Section 1 above.

                            b.     Plaintiff’s FMLA Retaliation Claim Fails Because
                                   His Termination was Not Causally Related to His
                                   Leave Request

       Plaintiff cannot succeed on his FMLA retaliation claim because his termination is

not causally related to his request for leave. Assuming Plaintiff can meet the showing of

the first two elements of his claim, the question becomes whether his termination is

causally connected to his request for FMLA leave. The Third Circuit has identified three

factors to aid courts in making that determination: (1) close temporal activity between the

events; (2) a record that the employer subjected the employee to ongoing antagonism;

and (3) an employer’s inconsistent reasons for termination. Farrell v. Planters Lifesavers

Co., 206 F.3d 271, 280 (3d Cir. 2000); see also Capps v. Mondelez Global LLC, 147 F.

Supp. 3d 327, 336 (E.D. Pa. 2015) (“Capps I”). Plaintiff cannot make this showing.

       First, Plaintiff began calling out of work in early October and requested leave

beginning on October 26, 2018 and backdated to October 1, 2018. (Exhibits “L”). He

exhausted his FMLA leave on January 17, 2019. (Exhibit “Q”). He was not terminated

until May 9, 2019. (Exhibit “B”). Given that six months had passed since the time Plaintiff

requested leave and was terminated, there is no temporal proximity, let alone “close”

temporal proximity, between his request for leave and his termination. See Capps I, 147

F. Supp.3d at 337 (noting Third Circuit decisions where three-week gaps and two-month

gaps were not unusually suggestive); Albright v. Trs. of the Univ. of Pa., 2019 U.S. Dist.

LEXIS 180654, at *35 (identifying Third Circuit decisions where two-month and three-



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month gaps between the protected activity and adverse actions were not unusually

suggestive); Ellison v. Oaks 422, LLC, No. 11-2943, 2012 U.S. Dist. LEXIS 34976, at *20-

21 (E.D. Pa. Mar. 15, 2012) (quoting Third Circuit decision that if at least four months

pass, “no inference of causation is created” and holding that six months does not raise

inference of causation). Accordingly, Plaintiff cannot make a prima facie showing of his

claim.

         Presented with the foregoing, it is Plaintiff’s burden to demonstrate Temple’s

“retaliatory intent.” Lichtenstein, 691. F3d at 302; Vanstory-Frazier v. CHHS Hosp. Co.,

LLC, 827 F. Supp. 2d 461, 475 (E.D. Pa. 2011) (quoting Tex. Dept’ of Cmty. Affairs v.

Burdine, 450 U.S. 248, 253 (1981)) (“the ultimate burden of persuading the trier of fact

that the defendant retaliated against the plaintiff remains at all times with the plaintiff”).

Plaintiff “must point to some evidence, direct or circumstantial, from which a factfinder

could reasonably either (1) disbelieve the employer’s articulated legitimate reasons; or

(2) believe that an invidious discriminatory reason was more likely than not a motivating

or determinative cause of the employer’s action.” Fuentes, 32 F.3d at 764. He “must

demonstrate such weaknesses, implausibilities, inconsistencies, incoherencies, or

contradictions in the employer’s proffered legitimate reasons for its action that a

reasonable factfinder could rationally find them unworthy of credence and hence infer that

the employer did not act for the asserted [nonretaliatory] reasons.” Id. at 765.

         “[T]o avoid summary judgment, the plaintiff’s evidence rebutting the employer’s

proffered legitimate reasons must allow a factfinder reasonably to infer that each of the

employer’s proffered nondiscriminatory reasons was either a post hoc fabrication or

otherwise did not actually motivate the employment action[.]” Id. at 764 (internal citations



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omitted). Here, then, Plaintiff must show that Temple’s explanation “was so plainly wrong

that it cannot have been the employer’s real reason.” Fichter v. AMG Res. Corp., 528

Fed. Appx. 225, 230 (3d Cir. 2013) (quoting Keller v. Orix Credit Alliance, Inc., 130 F.3d

1101, 1109 (3d Cir. 1997)). “The factfinder must be able to infer that the employer did not

simply make a bad decision when it took an action against an employee, but that the

employer took that action for unlawful reasons.” Davis, 2015 U.S. Dist. LEXIS 154213,

at *21. As discussed in Section 1 above, Plaintiff cannot make that showing and

accordingly his FMLA retaliation claim must fail.

       As such, Plaintiff’ claims for retaliation under Title VII, Section 1981, and the FMLA

all fail, and Counts III, VI, and VIII must be dismissed with prejudice.

       3.     Plaintiff Was Not Subjected to a Hostile Work Environment._________

       Plaintiff contends that Temple created a “hostile work environment”, however, there

are no actual facts that support this argument. To establish a prima facie case for a hostile

work environment, Plaintiff must show: (1) he suffered intentional discrimination because of

his race or disability; (2) the discrimination was severe or pervasive; (3) the discrimination

detrimentally affected him; (4) the discrimination would have detrimentally affected a

reasonable person in the same position; and (5) the existence of respondeat superior

liability. Sherrod v. Philadelphia Gas Works, 57 F. App’x 68, 75 (3d Cir. 2003), citing West

v. Philadelphia Elec. Co., 45 F.3d 744, 753 (3d Cir. 1995). The hostile work environment

analysis “must concentrate not on individual incidents, but on the overall scenario.”

Cardenas v. Massey, 269 F.3d 251, 261 (3d Cir. 2001).

       To determine whether a plaintiff has set forth sufficient facts to establish a hostile

work environment, courts generally consider the totality of circumstances, including, such



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factors as the frequency and severity of the discriminatory conduct, whether the

discriminatory conduct is physically threatening or a “mere offensive utterance,” and whether

it reasonably interferes with an employee’s work performance. Walton v. Mental Health

Ass’n, 168 F.3d 661, 667 (3d Cir. 2017).

       Here, Plaintiff fails to establish all the elements of a prima facie case for hostile work

environment.     As set forth above in Sections 1 and 2, Plaintiff did not experience

employment discrimination because of his race or disability.               His termination from

employment with Temple was for a legitimate and nondiscriminatory reason. And although

Plaintiff points to a multitude of alleged incidents that constitute harassment, none of those

incidents taken together or individually are sufficiently severe or pervasive to constitute

employment discrimination. See Walton v. Mental Health Ass'n, No. 96-5682, 1997 U.S.

Dist. LEXIS 18224, 1997 WL 717053, at *1, *13 (E.D. Pa. Nov. 17, 1997) (granting summary

judgment on a hostile work environment claim brought under the ADA by an employee

suffering depression and obesity because the alleged comments made by her supervisor,

such as "you have to separate your problems, symptoms from the project," "you have to

learn to manage your illness," "you have to make a decision of either you can work or you're

either too sick to work," and "people with your symptoms are manic depressive" were not

severe or pervasive), aff'd, 168 F.3d at 667 (agreeing that these comments taken together

fall "far short" of the standard set forth in Harris v. Forklift v. Forklift Sys., Inc., 510 U.S. 17

(1993)); Lescoe v. Pa. Dep't of Corr. – SCI Frackville, 464 Fed. Appx. 50, 54 (3rd Cir. 2012)

(concluding that frequent "jokes and comments about [plaintiff's] weight, the size of his belly,

and not being able to see his groin area" did not reach a level of sufficient severity or

pervasiveness to alter the conditions of plaintiff's employment); Hamera v. Cty. of Berks,



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248 F. App'x 422, 425 (3d Cir. 2007) (concluding that the nine comments made over a year

and four months span were insensitive but did not rise to an actionable level of harassment);

Hartwell v. Lifetime Doors, Inc., No. 05-2115,2006 U.S. Dist. LEXIS 6026, at **56-57 (E.D.

Pa. Feb. 16, 2006) (concluding that comments made regarding plaintiff appeared to be

incidental to, rather than based on his disability; comment that "[plaintiff] would be easier to

harm due to his shoulder injury" was a "general taunt more than harassment based on

[plaintiff's] injury").

        Plaintiff’s allegations here, taken separately or together, do not show the existence

of a hostile work environment. For instance, Plaintiff alleges he was subjected to “racist

remarks, making hostile remarks, thwart[ed] from properly doing his job, false blame and

criticism, defamatory conduct, sabotaging conduct, ignoring plaintiff’s efforts to promote

diversity…” (See Comp. ¶ 165). The remainder of the allegations related to the hostile work

environment only demonstrate that Plaintiff has conflated his frustration with his job with

hostility and discrimination. For example, Plaintiff alleges he was denied the ability to

“review candidates for the ‘Emerging Scholars Program’” was “not allowed to recruit outside

of Philadelphia”, = was “not allowed to attend diversity events planned in his office,” and was

“denied the necessary data, job description, and assistance that he needed to do his job

properly…”. (Id. ¶¶ 45, 42, 41, and 39). However, none of these events are sufficiently

severe or pervasive to constitute harassment and none could objectively be viewed as

detrimentally affecting his employment. Even if these bare allegations were supported by

actual evidence, which they are not, they do not suffice as a matter of law as severe or

pervasive.




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       As for the alleged racist remarks, Plaintiff only offers vague allegations of “code words

for racism against African-Americans and Blacks” because Ms. Mormando and Mr. Van

Blunk characterized him as “angry, aggressive and provocative”. (Id., ¶ 67). Whether or not

Mr. Van Blunk characterized Plaintiff in this manner, it is only his perception and subjective

belief that this discriminatory and hostile. Plaintiff's subjective belief that he was harassed

because of his race is, without more, insufficient to support an inference of racial

discrimination. Podobnik v. U.S. Postal Serv., 409 F.3d 584, 594 (3d Cir. 2005) ("To survive

summary judgment, a party must present more than just bare assertions, conclusory

allegations or suspicions to show the existence of a genuine issue.").

       Accordingly, all of Plaintiff’s hostile work environment claims in Count II should be

dismissed because Plaintiff did not suffer an adverse employment action and the allegations

of hostile work environment do not meet the required standard of being severe or pervasive.

       4.     Plaintiff’s PHRA Disability Discrimination and PHRA Disability
              Retaliation Claims Fail_________________________________________

       Plaintiff’ claims under the PHRA are entirely duplicative of, and comprised of, the

allegations that support his ADA claims for discrimination and retaliation. (Comp., Count X,

¶¶ 199-200). The Third Circuit has acknowledged that “the PHRA and the ADA are ‘basically

the same … in relevant respects[.]’” Buskirk v. Apollo Metals, 307 F.3d 160, 166 n.1 (3d Cir.

2002) (quoting Rinehimer v. Cemcolift, Inc., 292 F.3d 375, 382 (3d Cir. 2002)). As a result,

courts “generally interpret the PHRA in accord with its federal counterparts.” Id. (internal

citations omitted); see also Albright, 2019 U.S. Dist. LEXIS, at *27 n.4; Davis, 2015 U.S.

Dist. LEXIS 154312, at *16 (addressing ADA and PHRA retaliation as synonymous), *24

(acknowledging Third Circuit holdings noted above).




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       Because Plaintiff’ PHRA claims are analogous to his ADA claims, and therefore

analyzed under the same framework, they too fail for all of the reasons detailed above in

Sections 1-3 and should be dismissed.



IV.    CONCLUSION

       In light of the foregoing, Defendants respectfully request that this Court grant

summary judgment in their favor on Counts I, II, III, IV, V, VI, VII, VIII, and IX Plaintiff and

dismiss those claims with prejudice.

                                            Respectfully submitted,

                                            TUCKER LAW GROUP, LLC


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                               CERTIFICATE OF SERVICE

       I, Joe H. Tucker, Jr., Esquire, hereby certify that on this date, I caused to be served

a true and correct copy of the Temple Defendants’ Partial Motion for Summary Judgment

upon the following counsel via court filing notification:

                                  Reginald Allen, Esquire
                                7601 Crittenden Street, F12
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                                           TUCKER LAW GROUP, LLC


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